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                                              EXHIBIT A

                             Melanie E. Damian, Esq., as Receiver
                                 DAMIAN & VALORI, LLP
                               1000 Brickell Avenue, Suite 1020
                                    Miami, Florida 33 13 1
                       STANDARDIZED FUND ACCOUNTING REPORT
            CIVIL - RECEIVERSHIP FUND FOR CFTC v. TIMOTHY ATKINSON, ET AL.
                            Reporting Period 8/1/202 1 to 12 /3 1/202 1


                                                 Detail                Subtotal            Grand Total
Line 1      Beginning Balance (As of 8/1/202 1): $                -    $             -     $ 1,304,612.56

            Increases in Fund Balance:
Line 2      Business Income                      $                -    $             -    $                -
Line 3      Cash and Securities                  $        7, 606 .46   $      7, 606 . 46 $        7, 606 . 46
Line 4      Interest/Dividend Income [1]         $        1,301.11     $      1,301. 11 $          1,301. 11
Line 5      Business Asset Liquidation                                 $               - $                 -
Line 6      Personal Asset Liquidation           $                -    $               - $                 -
Line 7      Third-Pmiy Litigation Income         $                -    $               - $                 -
Line 8      Miscellaneous - Other                $                -    $               - $                 -
            Total Funds Available                                                         $    1,313,520.13
            (Lines 1-8):
            Decreases in Fund Balance:
Line 9      Disbursements to Investors]          $                -    $             -     $               -
Line 10     Disbursements for Business           $        7, 992 .52   $      7, 992 .52   $       7, 992 .52
            Operations [2 ]
Line I0a    Disbursements to Receiver or Other   $    125,594.56       $   125,594.56      $    125,594.56
            Professionals [2 ]
Line IOb    Business Asset Expenses                                    $             -
Line l0c    Personal Asset Expenses:             $                -    $             -     $               -
Line l0d    Investment Expenses                  $                -    $             -     $               -
Line l0e    Third-Party Litigation               $                -    $             -     $               -
Line t0f    Tax Administrator Fees and Bonds     $                -    $             -     $               -
Line 10g    Federal and State Tax Payments       $                -    $             -     $               -
            Total Disbursements for                                                        $    133,587.08
            Receivership Operations
Line 11     Disbursements for Distribution       $                -    $             -     $               -
            Expenses Paid by the Fund:
Line Il a   Distribution Plan Development        $                -    $             -     $               -
            Expenses:
Line 11b    Distribution Plan Implementation     $                -    $             -     $               -
            Expenses:
Line 12     Disbursements to Comi/Other          $                -    $             -     $               -
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Line 12a Investment Expenses/Court Registry $                    -   $             -    $              -
         Investment System (CRIS) Fees

Line 12b Federal Tax Payments                     $              -   $             -    $               -
         Total Disbursements to
         Court/Other
         Total Funds Disbursed (Lines 9-                                                $      133,587.08
         11)
Line 13 Ending Balance (As of December                                                  $    1,179,933.05
         31, 2021)
Line 14 Ending Balance of Fund - Net
         Assets:
Line 14a Cash & Cash Equivalents                                                        $    1,179,933.05
Line 14b Investments                                                                    $               -
Line 14c Other Assets or Uncleared Funds
         Total Ending Balance of Fund -                                                 $    1,179,933.05
         Net Assets

[1] Funds were received into the Receivership accounts for All in Publishing, LLC and Gasher, Inc. See
Receipts attached hereto as Exhibit 1.


[2] Funds were disbursed to administer the receivership estate and its assets. See Expenses attached hereto
as Exhibit 2.



                                                 Respectfully submitted,

                                                  Damian & Valori LLP
                                                  1000 Brickell Avenue, Suite 1020
                                                  Miami, Florida 33131
                                                  Telephone: 305-371-3960
                                                  Facsimile: 305-371-3965

                                                  /s/ Melanie E. Damian
                                                  Melanie E. Damian
                                                  Court-Appointed Receiver
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EXHIBIT 1 RECEIPTS
CFTC v. Atkinson Receipts of All in Publishing, LLC and Gasher, Inc.
Dtae                Amount              E xplanafion
8/16/2021           $          850.00 Sale of Art
8/16/2021           $        3,059.16 Sale of Art
8/16/2001           $          403.37 Seacoast/Refund of Insurance
9/29/2021           $        2,173.15 First Bank/Escrow refund
10/4/2021           $          720.78 Sale of Art
11/17/2021          $          400.00 Sale of Art
Total               $        7,606.46

City National Bank
Dtae                  A mount             E xplanafion
8/31/2021             $         278.96    interest
9/30/2021             $         260.39    interest
10/31/2021            $         251.33    interest
11/30/2021            $         259.66    interest
12/31/2021            $         250.77    interest
Total                 $       1,301.l l


Total of Receipts     $       8,907.57
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EXHIBIT 2 EXPENSES
Expenses of All in Publishing, LLC and Gasher, Inc.
Date        Chec k#      Payable                      Amount           D escrip
                                                                             . fion
8/10/2021                FPL                          $      139.78    Paramount  Condo
9/15/2021 1065           Fee for Sale                 $    1,702.60 sale of art
10/14/2021 1066          Stretto                      $    4,496.94 September
10/14/2021               Bank Fee                     $       12.00
11/17/2021 1067          Stretto                      $      325.80  � October
12/28/2021 1068          Stretto                      $    1,315.40. •November
                         Total                        $    7,992.52.

Professional Fees 8/5/21 & 11/1/21
D ate       Check#       Payable                      Amount
8/5/2021                 Kapila Makumal LLP           $      852.76
8/5/2021                 Damian & Valori              $   40,929.66
11/1/2021                Kapila Makumal LLP           $    5,210.04
11/1/2021                Damian & Valori              $   78,602.10
                         Total                        $  125,594.56
